   Case 2:12-cv-00859-LMA-MBN Document 1299 Filed 07/22/20 Page 1 of 1



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA



                    NOTICE OF MANUAL ATTACHMENT




LASHAWN JONES, ET AL                          CIVIL


VERSUS                                        NO: 12-859


MARLIN GUSMAN, ET AL                          SECTION: I (5)




ATTACHMENTS TO DOCUMENT NO. 1297

     DESCRIPTION: Flashdrive

     FILED BY: Darnley R. Hodge, Sr.

     FILE DATE: 7/22/2020


ARE LOCATED IN THE CLERK'S OFFICE.
